                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MISSOURI
                           WESTERN DIVISION


UNITED STATES OF AMERICA,                         )
                                                  )
                            Plaintiff,            )
                                                  )
vs.                                               ) No. 98-149-02-CR-W-FJG
                                                  )     00-395-04-CR-W-FJG
XAVIER LIGHTFOOT,                                 )
                                                  )
                            Defendant.            )

                                             ORDER

       On July 6, 2005, the Court met with the parties to discuss challenges to the

venire panel based on responses to the juror questionnaires.

       The parties on July 1, 2005 submitted to the Court a pleading listing jurors which

both sides agreed should be stricken for cause. As both sides have agreed, the

following jurors shall be stricken from the venire panel: 11, 13, 20, 22, 25, 26, 28, 32,

36, 37, 38, 44, 45, 47, 48, 53, 57, 63, 64, 65, 66, 68, 69, 72, 73, 76, 77, 78, 80, 87, 90,

91, 96, 97, 101, 103, 109, 111, 115, 119, 120, 122, 124, 125, 126, 128, 129, 132, 134,

135, 138, 141 and 149.

       As to the Government’s separate challenges with which the defense did not

agree, the Court rules as follows:

Juror No. 4 - Overruled                           Juror No. 130 - Overruled
Juror No. 7 - Overruled                           Juror No. 140 - Overruled
Juror No. 34 - Stricken                           Juror No. 143 - Overruled
Juror No. 67 - Overruled
Juror No. 85 - Stricken
Juror No. 89 - Overruled
Juror No. 99 - Overruled
Juror No. 117 - Stricken
Juror No. 121 - Overruled



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       As to the Defendant’s separate challenges with which the Government did not

agree, the Court rules as follows:

Juror No. 2 - Stricken
Juror No. 17 - Overruled
Juror No. 29 - Stricken
Juror No. 35 - Overruled
Juror No. 84 - Overruled
Juror No. 112 - Stricken

       After consideration of the defendant’s request for an extension of the time to

conduct individual voir dire, the Court will allow each side twenty minutes in which to

conduct voir dire of the small groups.




Date: July 7, 2005                               S/ FERNANDO J. GAITAN, JR.
Kansas City, Missouri                            Fernando J. Gaitan, Jr.
                                                 United States District Judge




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